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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

George A. Hedick Jr., et al.
                                        Plaintiff,
v.                                                       Case No.: 1:19−cv−01339
                                                         Honorable Robert M. Dow Jr.
The Kraft Heinz Company, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 22, 2019:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Status hearing held.
Deadline for the amended complaint is 12/6/2019. The Court adopts the parties' proposed
briefing schedule as discussed on the record. The Court will notify the parties if a hearing
is necessary. Motions for leave to appear pro hac vice [156]; [157]; [158]; [159] are
granted. Mailed notice(cdh, )




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